Case 3:17-cv-00072-NKM-JCH Document 55 Filed 11/01/17 Page 1lof1 Pageid#: 206

AFFIDAVIT OF PROCESS SERVER —

Client Info:

 

Robert T. Cahill, Esquire

Cooley, LLP. oo
11951 Freedom Drive, 14th Floor
Reston, VA 20190 ee

Case Info:

PLAINTIFF:

ELIZABETH SINES, ET. AL.
-versus~

DEFENDANT:

JASON KESSLER, ET. AL.

Service Info:

Job # 2874

USDC FOR THE WESTERN DISTRICT OF VIRGINIA

Court Case # 3:17-CV-00072-NKM

 

Date Received: 10/24/2017 at 10:50 AM
Service: I Served LEAGUE OF THE SOUTH C/O MICHAEL TUBBS
With: SUMMONS IN A CIVIL ACTION; CIVIL COVER SHEET; CIVIL COVER SHEET ADDENDUM;

PLAINTIFFS’ JURY DEMAND

At Business 524 COLE ROAD W Com hen) , FL 32218
Onjf) Last fF at ie i (am /'pn )

Manner of Service:

rsonai: By Personally delivering copies to the person being served.

[2]. Substituted at Residence: By leaving copies with
.usual place of adobe of the person being served with a member of the household over the age of

general nature of the papers.

[_]. Substituted at Business: By leaving with... a.
_ Office of the person/entity being served with the person apparently in charge thereof.

 

 

COMPLAINT;

at the dwelling house or

and explaining the

, during office hours, copies at the

{_] Posting: By posting copies in a conspicuous manner to the front door of the person/entity being served.

(.] Other:

 

CJ Non-service: After due search, careful inquiry and diligent attempts at the address(es) listed below, I have been
unable to effect the process upon the person/entity being served because of the following reason(s):

 

 

 

Setved Description: (Approx)

Age: , SOX: , Race:

. I Mike Hackett certify that I am_over the age of 18, have no interest in the above action,

which this service was made. C\/
_ Signature of Server: t

Mike Hackett

CAPITOL PROCESS SERVICES, INC.
1827 18TH STREET NW
Washington, DC 20009

Client # 1534662

SUBSCRIBED AND SWORN to before me this ¢

, Alan; .
Dlg th. day of OCbpb er 2017; by Mike Hackett, Proved to me

ry evidence to be the person(s) who appeared before me.

YU anon,

on the basis of sati:

D chu

NOTARY PUBLIC state of Florida

, Height:_"__", Weight:___, Hair:

Glasses:

and T am authorized in the jurisdiction in

 

 

 

 

wits, RICHARD J MCGEVERAN

Sh Ue /, . :

28 ee. State of Florida-Notary Public

=e *= Commission #4 GG 100877

ZNAEBES =— My Commission Expires
HS May 02, 2021

 

 

MUTA RAPA YB

lofi

 

 
